      Case -1:17-cv-04327-LLS-RWL          Document 21 Filed 06/19/17 Page 1 of 1
                    cv-04327 -LLS Document 20 Filed 06/19/17 Page 1 of 1
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                                                           June 19,2017            DOCTMENT
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 Hon. Louis   Stan~S.D.J.                                                          DATEF-IL_E_D_:__t~/~,~-~~~2~-
 United States District Court                                                                 .:   ',
 Southern District ofNew York
 500 Pearl Street
 New York, New York 10007

       Re: Dardashtian, et al. v. Gitman, et al., Case No.: 17-cv-4327 (LLS)   I



 Dear Judge Stanton:

         We represent defendants David Gitman, Dalva Ventures, LLC, and Channel Reply, Inc.
 (the "Defendants") in the above-referenced matter. With the consent of counsel for the plaintiffs,
 we respectfully request a three (3) hour extension of time from 12:00 p.m. to 3:00p.m. today to
 submit the Defendants' opposition to the plaintiffs' preliminary injunction application filed on
 June 8, 2017. Should the Court wish to discuss this matter, please do not hesitate to contact me
 at 212-398-5782.
